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                               UNITED STATES DISTRICT COURT
                                    DISTRICT OF MAINE


TARA J. ROY,                                        )
                                                    )
        Plaintiff,                                  )
                                                    )
                          v.                        ) 1:16-cv-00383-JDL
                                                    )
CORRECT CARE SOLUTIONS,                             )
LLC, et al.,                                        )
                                                    )
        Defendants.                                 )

                           
                               ORDER ON DEFENDANTS’ MOTIONS
                                  FOR SUMMARY JUDGMENT


        Tara J. Roy has filed suit against her former employer, Correct Care Solutions,

LLC (“CCS”), and the Maine Department of Corrections (“MDOC”), with whom CCS

contracted to provide healthcare services to inmates at the Maine State Prison in

Warren, Maine. She also sues Rodney Bouffard, the prison’s Warden, and Troy Ross,

the Deputy Warden, in their individual capacities (collectively, the “Defendants”).

She alleges that she was subject to sexual harassment and a hostile work

environment, as well as unlawful retaliation in violation of Title VII of the Civil

Rights Act, 42 U.S.C.A. § 2000e, et seq. (2018), and the Maine Human Rights Act

(“MHRA”), 5 M.R.S.A. § 4551, et seq. (2017). Roy also asserts constitutional claims

against Defendants Bouffard and Ross.                     All of the Defendants have moved for

summary judgment on the claims against them (ECF Nos. 57 and 63). For the

reasons that follow, I grant the Defendants’ motions.


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   This opinion is SEALED until 5:00 p.m. on Friday, April 6, 2018, to give the parties an opportunity to notify
the Court, by sealed filings, whether any portion(s) need to be redacted because of confidentiality restrictions.
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                           I. FACTUAL BACKGROUND

      Except where otherwise noted, the following facts are undisputed.

      On August 13, 2012, Roy began working as a Licensed Practical Nurse

employed by CCS at the prison; CCS had a contract with the MDOC, under which it

provided healthcare services to inmates. Roy’s job description included a requirement

that she maintain a security clearance. Roy worked in the prison medical clinic, a

part of the medical facility along with the infirmary, and was directly supervised by

two CCS employees. Two Corrections Officers employed by the MDOC are assigned

to the medical facility to provide safety and security.

      On February 5, 2013, Roy reported to her supervisors that MDOC Corrections

Officer Snow had made inappropriate comments to her, including disparaging

comments about her being blonde and female, and had made inappropriate and

unwanted physical contact with her.            Roy considered Snow’s conduct sexual

harassment.     The MDOC investigated Roy’s complaint and found insufficient

evidence to support Roy’s allegations, but Snow was reassigned out of the medical

clinic and thereafter did not work directly with Roy. Roy does not claim that Snow

made any further inappropriate comments or physical contact after he was

reassigned out of the clinic.

      In April or May 2014, Roy became the sick call nurse in the medical clinic.

Around that time, Officer Turner, one of the Corrections Officers often assigned to

the medical clinic, made comments about women to Roy such as “why do we have

females when . . . men do everything,” and that a woman’s “job is to be at home.” ECF

No. 40 at 37. Roy told Turner that these comments were offensive, but Turner

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continued to make them. Turner also, at times, ignored her, including her requests

to bring sick inmates to the clinic. On June 20, 2014, Roy filed an incident report

that Turner had acted unprofessionally. ECF No. 35-16. Starting in June or July

2014, Roy made frequent oral complaints to her supervisors that Turner was absent

from his post. Roy sent additional emails to her supervisor on July 24 and July 31,

2014, complaining that Turner had left the clinic unattended.            Roy further

complained to her supervisors that Turner, in response to her complaints against

him, had retaliated by working slowly and being uncooperative.

      Also starting in June or July 2014, Roy complained to her supervisors that

Corrections Officers had asked her to share confidential inmate medical information.

Roy made similar complaints on August 1 and August 4, 2014. On July 16, 2014, Roy

emailed her supervisor to report that various officers were no longer speaking to her

or would yell at her because she wouldn’t disclose inmate medical information. On

July 17, 2014, Roy sent another email reporting similar behavior.

      On August 4, 2014, Roy emailed her supervisor to report that Corrections

Officer Parrow had told her to “stop being a bitch” in response to her informing him

of what she believed to be correct workplace protocol. Roy filed an incident report on

August 26, 2014, reporting that Parrow called her a “bitch” a second time. Roy and

Parrow had been romantically involved but that relationship had ended. On at least

one occasion, Parrow, in explicit terms, propositioned Roy to become sexually involved

again, but Roy rejected the advance. Roy reported to her supervisor that Parrow was

angry with her because she spurned his advance, and that she believed that Parrow

had called her a “bitch” for the same reason.

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      Between July and September 2014, several Corrections Officers filed at least

five reports complaining of unprofessional conduct by Roy, including one by Snow on

September 18, 2014, that alleged that Roy had yelled at him. Roy alleges—though

the Defendants dispute—that these reports were either false or exaggerated, and

were filed in retaliation against her earlier complaints about sexual harassment,

safety concerns, and officers seeking confidential medical information. Roy does not

identify which of the alleged retaliatory reports were sexual harassment, and which

were not.

      On September 12, 2014, Roy filed an incident report complaining that a

Corrections Officer had commented to another officer that they needed “to get [Roy]

off her ass and moving,” which Roy believed to be sexual harassment. ECF No. 49-

28. On September 23, 2014, Roy filed an incident report arising out of a Facebook

conversation with a different Corrections Officer.          In that conversation, the

Corrections Officer stated that another officer was trying to get her fired for filing

complaints against Turner and was spreading rumors that she had slept with

“everyone in the prison.” ECF No. 35-20 at 2. During the Facebook conversation, the

officer asked to call Roy and she declined. Several days later, still on Facebook, the

officer messaged Roy that she should try to smile, and later wrote: “I UN FRIEND

YOU Tired of attitude. . . .”   Id. at 4.       Roy believed this behavior was sexual

harassment and retaliation for her not speaking with him on the phone.

      On September 26, 2014, Roy was working in the medical facility along with at

least one other nurse. There were two Corrections Officers on duty: Officer King in

the clinic and Officer Snodgrass in the infirmary. At approximately 10:00 a.m., King

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responded to an incident alert and left the clinic. After King left, Roy and another

nurse called Snodgrass three times to come to the clinic where there were three

inmates present, but Snodgrass appeared to be sleeping and was barely responsive

to their calls. Surveillance footage shows that a different officer arrived at the clinic

thirty seconds after King left in response to the alert and that Snodgrass eventually

came to the clinic approximately six minutes after the alert. At least one of those

officers is seen on camera for all but, at most, one minute and 49 seconds of the fifteen

minutes following King’s departure (though Defendants contend there was a

Corrections Officer present for all but the first 30 seconds after King left). Roy

reported to the prison Captain that she had been left unsupervised in the clinic

without a Corrections Officer present. Roy told the Captain that the Corrections

Officer on duty in the clinic responded to an incident call, leaving prisoners

unattended, and that the officer on duty in the infirmary did not arrive to cover the

clinic for fifteen minutes. The Captain told Roy that she needed to file an incident

report, but she refused, stating that her supervisor had told her that Deputy Warden

Ross did not want her to write any more reports. The Defendants dispute that Ross

told Roy to stop filing complaints and assert that Ross only wanted Roy’s complaints

to be better substantiated. ECF No. 43 at 26. Ultimately, the other nurse present at

the time of the incident filed an incident report, indicating that there was no officer

present in the clinic for roughly fifteen minutes.

      Later on September 26, 2014, Roy’s supervisors met with Ross, the prison

Captain, and an MDOC human resources representative, among others, to discuss

incident reports filed by Roy that had resulted in investigations. At this meeting,

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Ross expressed frustration that Roy was involved in so many investigations and

stated that he wanted to revoke Roy’s security clearance (stating that he wanted to

“gate-close” her). CCS subsequently decided that Roy should be suspended to allow

the situation to cool and to protect Roy from further allegations and complaints. On

October 2, 2014, Bouffard emailed CCS that Roy’s security clearance was being

revoked because she misrepresented the truth and failed to follow the prison

Captain’s directive to file an incident report.    Bouffard’s decision was based on

information reported to him by Ross. This decision was based, according to Bouffard,

on the conclusion that Roy had alleged that the clinic was unsupervised for a period

of fifteen minutes when, in fact, it had been at most less than two minutes, as well as

her refusal to write an incident report.

      On October 2, 2014, Roy’s supervisor recommended that Roy be terminated by

CCS because the MDOC had revoked her security clearance, which was a

requirement for the job. CCS terminated Roy’s employment that day. On or about

May 26, 2015, Roy submitted a complaint to the Maine Human Rights Commission.

                      II. SUMMARY JUDGMENT STANDARD

      Under the Federal Rules of Civil Procedure, “[t]he court shall grant summary

judgment if the movant shows that there is no genuine dispute as to any material

fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a);

see also Ahmed v. Johnson, 752 F.3d 490, 495 (1st Cir. 2014). “A genuine issue is one

that can be resolved in favor of either party and a material fact is one which has the

potential of affecting the outcome of the case.” Gerald v. Univ. of P.R., 707 F.3d 7, 16

(1st Cir. 2013) (internal quotation marks omitted).        The court, in determining

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whether the movant has met its burden, views the record in the light most favorable

to the nonmoving party, giving that party the benefit of all reasonable inferences.

Brooks v. AIG SunAmerica Life Assurance Co., 480 F.3d 579, 586 (1st Cir. 2007). If a

party fails to address another party’s assertion of fact, the court may “grant summary

judgment if the motion and supporting materials–including the facts considered

undisputed–show that the movant is entitled to it.” Fed. R. Civ. P. 56(e)(3); see also

Jaroma v. Massey, 873 F.2d 17, 19-20 (1st Cir. 1989).

                             III.   LEGAL ANALYSIS

      I address, in turn, (A) the MDOC’s argument that it is entitled to summary

judgment on all claims against it because non-employers cannot be held liable under

the MHRA and it was not Roy’s employer; (B) Roy’s claims for sexual harassment and

hostile work environment against CCS; (C) Roy’s claims for unlawful retaliation

against CCS; and (D) Roy’s constitutional claims against Bouffard and Ross.

A.    MDOC Liability

      Roy’s Complaint alleges one count against the MDOC (Count III) under § 4633

of the MHRA for coercing CCS to terminate her employment, interfering with her

rights, preventing CCS from complying with the MHRA, and retaliating against her.

The MDOC argues, relying on the Maine Law Court’s holding in Fuhrmann v. Staples

Office Superstore East, Inc., 58 A.3d 1083 (Me. 2012), and its progeny, that claims for

employment discrimination pursuant to the MHRA can only be brought against an

“employer.” Id. at 1097-98. Because it is undisputed that Roy was employed by CCS

and not by the MDOC, and there are no allegations that CCS and the MDOC are joint

employers, the MDOC argues that judgment should be entered in its favor. Roy
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argues that Fuhrmann applies only to employment claims brought under § 4572 of

the MHRA,1 and not to claims for retaliation under § 4633 of the MHRA.2

        In Fuhrmann, the plaintiff sued her former employer and four supervisors

alleging whistleblower discrimination pursuant to § 4572 (“Unlawful Employment

Discrimination”), which explicitly prohibits employment discrimination by “any

employer.” 5 M.R.S.A. § 4572(1)(A); 58 A.3d at 1086-87. The Law Court concluded

that in light of the underlying purposes of the MHRA and the Maine Whistleblower

Protection Act (“MWPA”) (for which the MHRA provides a private right of action),

and in the context of the statutory scheme as a whole, the definitions of “employer”

under both the MHRA and the MWPA, “are meant to hold the principal/employer

liable for acts of its agents/employees.” Fuhrmann, 58 A.3d at 1097. Consequently,

the Law Court ruled that individual supervisors cannot be held liable for employment

discrimination under the MHRA, as that would undermine the legislative intent to

“hold the ultimate employer accountable for rectifying discrimination. . . .” Id.

        Roy argues that Fuhrmann is inapplicable because it only concerned § 4572,

and her claims are brought under § 4633 (“Prohibition against Retaliation and

Coercion”), which does not prohibit employment discrimination or contain the term

“employer,” but instead prohibits conduct by a “person.” 5 M.R.S.A. § 4633(1), (2).

This reasoning, however, contradicts Fuhrmann’s central rationale—that the MHRA


 1  5 M.R.S.A. § 4572 provides, in part: “It is unlawful employment discrimination . . . for any employer . . . to
discharge an employee or discriminate with respect to hire, tenure, promotion, transfer, compensation, terms,
conditions or privileges of employment or any other matter directly or indirectly related to employment . . . .” 5
M.R.S.A. § 4572(1), (1)(A) (2017).

 2 5 M.R.S.A § 4633 provides, in part: “A person may not discriminate against any individual because that

individual has opposed any act or practice that is unlawful under this Act . . . . It is unlawful for a person to
coerce, intimidate, threaten or interfere with any individual in the exercise or enjoyment of the rights granted or
protected by this Act . . . .” 5 M.R.S.A § 4633(1), (2) (2017).
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intends to hold employers liable for employment discrimination—by framing what is

essentially an unlawful employment discrimination claim as a § 4633 retaliation

claim. This argument has previously been rejected in three published decisions. See

Enos v. Orthopedic & Spine Physical Therapy of L/A, Inc., No. cv-13-176, 2014 Me.

Super. LEXIS 225 (Me. Super. Nov. 18, 2014) (applying holding in Fuhrmann to

dismiss whistleblower retaliation claim against individual supervisor brought under

§ 4633); Charette v. St. John Valley Soil & Water Cons. Dist., 1:17-cv-35-GZS, 2017

WL 2683951 (D. Me. June 20, 2017) (same); U.S. ex rel. Worthy v. E. Me. Healthcare

Sys., 2:14-cv-00184-JAW, 2017 WL 211609 (D. Me. Jan. 18, 2017) (applying holding

in Fuhrmann to dismiss retaliation claim against non-employer, third-party entity

brought under § 4633).

      In Worthy, the plaintiff, a former employee of a hospital, brought a § 4633

retaliation claim against a company that had contracted with the hospital to provide

billing services. Worthy, 2017 WL 211609 at *3, 32. Like Roy, the plaintiff argued

that § 4633 of the MHRA does not limit its scope to employers and instead prohibits

any “person” from interfering with protected rights. Id. at *32. The Court applied

Fuhrmann and dismissed the claims against the non-employer company that had

contracted with the hospital, explaining:

      [T]he Maine Law Court concluded [in Fuhrmann] that only an employer
      can be liable for employment discrimination under the MHRA.
      Although the Fuhrmann case dealt with individual supervisor liability,
      the basic premise applies with equal force to this case. Only an employer
      can be liable under the MHRA for retaliation for whistle-blowing
      activity. To hold otherwise would mean that even though an individual
      supervisor cannot be held liable, a non-employer third party could be.

Id. (internal citations omitted).

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         Worthy’s application of § 4633 is in harmony with the legislative purpose which

 informed Fuhrmann’s interpretation of the MHRA’s prohibition of employment

 discrimination. Allowing non-employer liability to hinge solely on the section of the

 MHRA a plaintiff chooses to sue under would defeat the MHRA’s central purpose,

 which is to hold an employee’s ultimate principal/employer responsible for the

 discriminatory acts of its agents/employees. See Fuhrmann, 58 A.3d at 1097-98

 (quoting Lever v. Acadia Hosp. Corp., 845 A.2d 1178, 1183 (Me. 2004) (“In construing

 statutes, we look to the overall purpose of the law of which the section at issue forms

 a part and strive to interpret the language to avoid results that are inconsistent,

 unreasonable, or illogical in relation to the law’s overall purpose.”)). Thus, Roy cannot

 maintain a MHRA claim against the MDOC, a non-employer entity.                                     Summary

 judgment is therefore appropriate as to all claims against the MDOC (Count III).3

 B.      Hostile Work Environment

         Roy also alleges claims for hostile work environment on the basis of sexual

 harassment and gender discrimination against her employer, CCS, pursuant to Title




   3 Roy appears to concede that her claims against the MDOC are brought solely under § 4633. ECF No. 70 at 12

 (“The claims here are not brought under § 4572(1), however, they are brought under § 4633.”). However, to the
 extent Roy’s claims against the MDOC are brought under § 4553(10)(D) for aiding and abetting unlawful
 discrimination, whose language is quoted in Count III, Fuhrmann still demands dismissal. As noted by the Court
 in Worthy:

         [I]f the MWPA retaliation provisions were interpreted as [the plaintiff] urges, the exception to
         [the] Maine Supreme Judicial Court’s holding in Fuhrmann would become the rule since an
         aiding and abetting allegation would necessarily survive a motion to dismiss and might even
         survive a motion for summary judgment, causing non-employers to fall within the MWPA in a
         manner contrary to Fuhrmann. The Court declines to create an exception to the Fuhrmann rule
         based on the aiding and abetting provision of the MWPA.

 2017 WL 211609, at *33 (dismissing aiding and abetting claim brought under § 4553(10)(D)). Likewise, Roy
 cannot save her MHRA retaliation claim against the MDOC by framing them as claims for aiding and abetting.


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 VII (Count I) and the MHRA (Count II).4 I address, in order, CCS’ argument that (1)

 Roy did not administratively exhaust her sexual harassment and gender

 discrimination claims, and (2) Roy has not created a dispute of material fact as to her

 hostile work environment claim.

         1. Administrative Exhaustion

         CCS argues that Roy did not adequately raise her hostile work environment

 claims on the basis of sexual harassment and gender discrimination in her formal

 complaint filed in May 2015. The administrative complaint is “both a prerequisite for

 entry into federal court and a scope-setting device for the civil action that follows”

 under Title VII and relevant regulations. Brown v. Mabus, 2:14-cv-426-NT, 2016 WL

 6068116, at *2 (D. Me. Oct. 14, 2016). If Roy failed to exhaust this process, her sexual

 harassment and gender discrimination claims would be barred from this civil action.

 See Bonilla v. Muebles J.J. Alvarez, Inc., 194 F.3d 275, 278 (1st Cir. 1999).

         A plaintiff is not bound by the exact claims raised in her administrative

 complaint: “[T]he scope of a civil action is not determined by the specific language of

 the charge filed with the agency, but rather, may encompass acts of discrimination

 which [an] investigation could reasonably be expected to uncover.” Davis v. Lucent

 Techs., Inc., 251 F.3d 227, 233 (1st Cir. 2001) (internal quotation marks omitted); see

 also Jorge v. Rumsfeld, 404 F.3d 556, 565 (1st Cir. 2005) (“[T]he scope of the suit is

 . . . constrained by [the administrative complaint’s] allegations in the sense that the

 judicial complaint must bear some close relation to the allegations presented to the


  4 Having already determined that there is no MHRA liability against the MDOC as a non-employer (see supra

 Section III.A), I do not consider the allegations against it further. There are no Title VII claims against the
 MDOC.
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 agency.”). In determining what claims an investigation could reasonably uncover,

 courts may “look beyond the four corners of the underlying administrative charge,”

 Thornton v. United Parcel Serv., Inc., 587 F.3d 27, 32 (1st Cir. 2009), to consider

 “whether the factual statements in the plaintiff’s complaint should have alerted the

 agency of an alternative claim.” Caldwell v. Fed. Express Corp., 908 F. Supp. 29, 35

 (D. Me. 1995).

       Here, Roy’s claims for sexual harassment and gender discrimination are

 closely related to the allegations in her administrative complaint, which adequately

 alerted the Defendants to those claims. The body of Roy’s administrative complaint

 alleged facts intimating sexual harassment and gender discrimination, including her

 allegations of retaliation by male coworkers based on rejected romantic overtures

 (ECF No. 36-1 at ¶¶ 11, 15) and the allegation that she sought a transfer because she

 felt that she was being unfairly targeted due to being a “young, single woman working

 in a mostly male environment.” ECF No. 36-1 at ¶ 16; see also Spinney v. Spencer,

 No. 2:15-cv-459-NT, 2017 WL 4293141, at *4 (D. Me. Sept. 27, 2017) (finding that

 EEO complaint that stated “[f]or years, I have been consistently discriminated

 against because of my gender” suggested on its face a hostile work environment claim

 despite omission of claim). The record further indicates that, in responding to Roy’s

 administrative complaint, the MDOC itself characterized the complaint as alleging

 sexual harassment. ECF No. 73-2 at 3 (“[Roy] alleges that she was subjected to sexual

 harassment during her employment . . . .”). Thus, Roy adequately exhausted her

 administrative remedies as to her claims for sexual harassment and gender

 discrimination.

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       2. Allegations of Hostile Work Environment

       The MHRA and Title VII provide that it is unlawful employment

 discrimination for an employer to discriminate against an employee on the basis of

 sex with respect to compensation, terms, conditions or privileges of employment. 5

 M.R.S.A. § 4572(1)(A); 42 U.S.C. § 2000e–2(a)(1).         Accordingly, a plaintiff may

 establish a violation of Title VII or the MHRA by demonstrating that an employer

 required the plaintiff to work in a hostile or abusive environment. Harris v. Forklift

 Sys., Inc., 510 U.S. 17, 21 (1993); Watt v. UniFirst Corp., 969 A.2d 897, 902 (2009).

       To succeed on a hostile work environment claim under Title VII or the MHRA,

 six elements must generally be established:

       (1) that [the plaintiff] is a member of a protected class; (2) that [she] was
       subjected to unwelcome sexual harassment; (3) that the harassment was
       based upon sex; (4) that the harassment was sufficiently severe or
       pervasive so as to alter the conditions of [her] employment and create
       an abusive work environment; (5) that sexually objectionable conduct
       was both objectively and subjectively offensive, such that a reasonable
       person would find it hostile or abusive and that [she] in fact did perceive
       it to be so; and (6) that some basis for employer liability has been
       demonstrated.

 Pérez-Cordero v. Wal-Mart P.R., Inc., 656 F.3d 19, 27 (1st Cir. 2011); Bodman v.

 Maine, Dep’t of Health & Human Servs., 720 F. Supp. 2d 115, 119-20 (D. Me. 2010).

 “There is no mathematically precise test that [courts] employ to answer” whether

 conduct was severe or pervasive enough as to alter the conditions of employment.

 Gerald, 707 F.3d at 18. Instead, courts weigh numerous factors, including the

 frequency and severity of the discriminatory conduct; whether the conduct is

 physically threatening or humiliating, or a mere offensive utterance; and whether it



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 unreasonably interferes with an employee’s work performance. Faragher v. City of

 Boca Raton, 524 U.S. 775, 787-88 (1998).

       CCS first argues that Roy’s allegations regarding Officer Snow are time-barred

 and must not be considered in evaluating Roy’s hostile work environment claim.

 Claims of harassment or retaliation under Title VII and the MHRA must be filed with

 the Equal Employment Opportunity Commission (“EEOC”) or the Maine Human

 Rights Commission (“MHRC”) within 300 days after the alleged unlawful practice

 occurred. See 42 U.S.C. § 2000e-5(e)(1); 5 M.R.S.A. § 4611. Here, Roy complained

 that Snow had engaged in sexually harassing conduct on February 5, 2013, but she

 did not file her Complaint until May 26, 2015, more than 300 days after the alleged

 misconduct occurred. However, “an equitable exception to the 300-day filing period

 is recognized under Title VII for the ‘ongoing pattern[s] of discrimination’ that are

 part and parcel with hostile work environment claims.”         Franchina v. City of

 Providence, 881 F.3d 32, 47 (1st Cir. 2018) (quoting O’Rourke v. City of Providence,

 235 F.3d 713, 726 (1st Cir. 2001) (citations omitted)). This exception, known as the

 “continuing violation doctrine,” “allows plaintiffs to proceed on a hostile work

 environment claim ‘so long as all acts which constitute the claim are part of the same

 unlawful employment practice and at least one act falls within the time period.’” Id.

 (quoting Nat’l R.R. Passenger Corp. v. Morgan, 536 U.S. 101, 122 (2002) (emphasis

 added)).

       Roy has failed to show that the events which she claims generated a hostile

 work environment that occurred within the 300-day period were substantially related

 to Snow’s earlier behavior. Snow figures only once in the subsequent acts which Roy

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 alleges: that in response to her filing complaints regarding officer misconduct, Snow

 filed a September 18, 2014, report citing her for rude and unprofessional behavior

 (ECF No. 49-9) which, she alleges, was false or “overblown.” ECF No. 74-3 at ¶ 101.

 Snow’s alleged retaliatory report is not substantially related to his alleged harassing

 behavior that occurred a year and a half earlier and, which Roy acknowledges, was

 not repeated.   Thus, there is no evidence of a pattern connecting Roy’s 2013

 allegations against Snow to subsequent events. The 2013 allegations against Snow

 are therefore time-barred.

       The remaining conduct Roy cites in support of her claims of a hostile work

 environment are not, considered together, so objectively severe or pervasive as to

 alter the terms and conditions of her employment. Roy’s claim encompasses the

 following conduct: (1) Officer Turner made derogatory comments and jokes about

 women to her, including comments that disparaged a woman’s role in the workplace

 and that were disrespectful to her; (2) several officers retaliated against her for

 refusing to disclose inmate medical information by calling her names, yelling at her,

 and purposefully slowing or impeding her ability to perform her work duties; (3)

 Officer Parrow made romantic advances after their romantic relationship had ended,

 called her a “bitch” on multiple occasions, impeded her work, and treated her angrily

 after she rejected his advances; (4) multiple officers filed false or overblown reports

 about her in retaliation for filing her complaints about Turner, Parrow, and officers

 seeking confidential patient medical information; (5) on one occasion, an officer

 commented to another officer that they needed to “get [Roy] off her ass and moving”;

 (6) an officer asked her for her phone number on Facebook and, in response to her

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 refusal to speak to him on the phone, sent unfriendly Facebook messages to her; and

 (7) an officer spread a rumor that she was sleeping with everyone in the prison and

 sought to get her employment terminated because of her complaints against other

 officers.

        Much of the conduct Roy alleges was not based on her sex. To survive summary

 judgment, Roy must articulate a genuine issue of material fact as to whether the

 offensive conduct would not have occurred but for her sex. See Bowen v. Dep’t of

 Human Servs., 606 A.2d 1051, 1053-54 (Me. 1992) (constant use of vulgar language

 in the workplace and offensive and unprofessional conduct did not sustain claim of

 hostile environment due to sexual harassment where the record did not support that

 the vulgar language and conduct was directed at plaintiff because she was a woman).

 Roy’s allegations that several officers retaliated against her for refusing to disclose

 inmate medical information, that several officers filed false or overblown reports

 about her in retaliation for her filing complaints about officers seeking confidential

 medical information, and that an officer commented that they needed to “get [Roy] off

 her ass and moving” are not connected to Roy’s sex. See Rivera v. P.R. Aqueduct &

 Sewers Auth., 331 F.3d 183, 190-91 (1st Cir. 2003) (upholding summary judgment for

 employer where plaintiff was subject to “vulgar and unprofessional environment”

 based on “[a] constellation of factors” rather than her protected class). Additionally,

 Roy has acknowledged that she did not perceive Officer Parrow calling her a “bitch”

 to be conduct based on sex, but was instead based on his anger resulting from the

 breakup of their previous romantic relationship. ECF No. 40 at 42.



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       “Conduct that is not severe or pervasive enough to create an objectively hostile

 or abusive work environment—an environment that a reasonable person would find

 hostile or abusive—is beyond Title VII’s purview.” Harris, 510 U.S. at 21. Roy’s

 remaining allegations of harassing conduct—that one officer made derogatory

 comments and jokes about women to her, that another asked her for her phone

 number and then sent harassing messages to her on Facebook when she refused, that

 a third officer spread sexual rumors about her, and that several officers filed false

 complaints against her for reporting sexual harassment (or possibly for other

 complaints Roy made)—considered together in the light most favorable to Roy,

 represent isolated incidents which, although no doubt disturbing and offensive, do

 not demonstrate a severe and pervasive hostile work environment. The alleged

 conduct, occurring intermittently over a period of six months, did not reach the level

 of frequency that courts in this Circuit have deemed sufficiently pervasive to

 constitute a hostile work environment based on sexual harassment. See, e.g., Clark

 County Sch. Dist. v. Breeden, 532 U.S. 268, 271 (2001) (per curiam) (quoting

 Faragher, 524 U.S. at 788) (“[I]solated incidents (unless extremely serious) will not

 amount to discriminatory changes in the terms and conditions of employment.”);

 Marrero v. Goya of P.R., Inc., 304 F.3d 7, 19 (1st Cir. 2002) (finding hostile work

 environment where harassment was “more or less constant” from plaintiff’s first day

 until her last); White v. N.H. Dep’t of Corr., 221 F.3d 254, 260-61 (1st Cir. 2000)

 (finding hostile work environment where “disgusting comments” and conversations

 occurred “everyday”); Paquin v. MBNA Mktg. Sys., Inc., 233 F. Supp. 2d 58, 64 (D.



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 Me. 2002) (finding five instances of inappropriate conduct were not sufficiently

 frequent to establish an abusive working environment).

         Furthermore, the alleged harassing conduct was not severe, as that concept

 has been developed in the Title VII context. See Faragher, 524 U.S. at 788 (quoting

 B. Lindemann & D. Kadue, Sexual Harassment in Employment Law 175 (1992)) (Title

 VII does not protect “the ordinary tribulations of the workplace, such as the sporadic

 use of abusive language, gender-related jokes, and occasional teasing”); see also

 Chamberlin v. 101 Realty, Inc., 915 F.2d 777, 783 (1st Cir.1990) (“[A]n isolated sexual

 advance, without more, does not satisfy the requirement that an employee asserting

 a cause of action for hostile environment discrimination demonstrate an abusive

 workplace environment.”), abrograted on other grounds by Smith v. F.W. Morse &

 Co., 76 F.3d 413 (1st Cir. 1996); Santiago v. Lloyd, 66 F. Supp. 2d 282, 287 (D.P.R.

 1999) (“No reasonable person could objectively believe that” a male employee calling

 a female employee a “bitch” on one occasion and claiming she was in a sexual

 relationship with a coworker was sufficiently severe to constitute reasonable belief of

 sexual harassment).

         Because Roy has not articulated a genuine issue of fact as to whether the

 alleged conduct was sufficiently severe and pervasive as to alter the conditions of her

 employment and create an abusive environment, CCS is entitled to summary

 judgment on Roy’s claim for hostile work environment on the basis of sexual

 harassment.5



  5 Because this ground is dispositive of Roy’s Title VII and MHRA claims, I do not address the remaining factors
 needed to analyze a workplace harassment claim.
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 C.    Unlawful Retaliation

       To establish a prima facie case of retaliation under Title VII, 42 U.S.C. § 2000e-

 3, or the MHRA, 5 M.R.S.A § 4633, Roy must demonstrate that: (1) she engaged in

 protected activity; (2) she suffered an adverse employment action; and (3) the adverse

 employment action was causally connected to the protected activity. See Ray v. Ropes

 & Gray LLP, 799 F.3d 99, 107 (1st Cir. 2015). Establishing a prima facie case of

 retaliation is a “relatively light burden.” DeCaire v. Mukasey, 530 F.3d 1, 19 (1st Cir.

 2008). If the employee establishes a prima facie case, the claim is then analyzed

 under the McDonnell Douglas burden-shifting framework. See Mariani-Colón v.

 Dep’t of Homeland Sec., 511 F.3d 216, 221-23 (1st Cir. 2007); McDonnell Douglas

 Corp. v. Green, 411 U.S. 792 (1973). Under that framework, the burden shifts to the

 employer to produce a legitimate, non-retaliatory justification for the adverse

 employment action. See Mariani-Colón, 511 F.3d at 221-22. If the employer does so,

 the burden shifts back to the employee, who must show that the proffered justification

 is in fact pretextual. See id.

       Roy’s claim for unlawful retaliation against CCS fails at the first analytical

 step because there is no genuine issue of material fact as to whether she engaged in

 “protected activity” when she reported to CCS what she believed were illegal practices

 committed by MDOC officers. For a report to be protected by the MWPA and MHRA,

 it is “require[d] that the report must address violations, conditions, or practices that

 the employer has the ability and authority to correct, and those violations, conditions,

 or practices complained of must bear a direct relationship to the employee’s current

 employer.” Hickson v. Vescom Corp., 87 A.3d 704, 711 (Me. 2014).

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       Roy’s allegations indicate only that she was directly supervised by CCS

 employees, that she was expected to submit complaints related to employment issues

 to her CCS supervisors, and that she repeatedly complained to her CCS supervisors

 about the conduct of MDOC officers. By Roy’s own admission, however, her CCS

 supervisor lacked the authority to correct the conduct of MDOC employees. Roy

 asserts that (1) incident reports completed by CCS employees relating to MDOC

 employees were given to the MDOC the same day they were completed, and then

 reviewed by the MDOC; (2) CCS generally reports complaints about MDOC officers

 to the MDOC; and (3) CCS does not conduct investigations into CCS staff complaints

 about MDOC staff, instead leaving such investigations to the MDOC. These facts,

 which Roy concedes, demonstrate that her employer, CCS, was in no position to

 address the alleged violations of the MDOC Corrections Officers that Roy reported.

       In support of her argument, Roy emphasizes that on at least one occasion CCS

 employees attended a meeting related to a MDOC investigation into one of Roy’s

 incident reports. Roy has not, however, put forth evidence showing that CCS had the

 ability or authority to change the outcome of the MDOC’s investigations, including

 its decision to “gate-stop” her, nor has she controverted the evidence Defendants have

 put forth to the contrary: “[CCS] does not employ or control the Corrections Officers

 who work at the Maine State Prison, it does not have any authority or ability to

 discipline or discharge the Corrections Officers, and it does not participate in any

 decisions regarding the discipline or discharge of Corrections Officers.” ECF No. 80-

 2 at ¶ 4. Unlike Hickson, where the plaintiff’s employer was in charge of safety and

 security at a mill and had the authority to correct the safety violation reported by the

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 plaintiff, 87 A.3d at 711, CCS had no authority to alter the conduct of the Corrections

 Officers that Roy complained about. Roy therefore cannot demonstrate that she

 engaged in protected conduct when she reported alleged misconduct by MDOC

 Corrections Officers to her CCS supervisors. Accordingly, CCS is entitled to summary

 judgment on Roy’s retaliation claim.

 D.    Constitutional Claims against Bouffard and Ross

       I address, in turn, Roy’s Equal Protection and First Amendment claims against

 Bouffard and Ross.

       1. Equal Protection

       Roy’s Equal Protection claims against Bouffard and Ross, brought under the

 Equal Protection Clause of the Fourteenth Amendment and 42 U.S.C.A. § 1983

 (2018), allege that Bouffard and Ross failed to stop prison staff from sexually

 harassing and retaliating against her for complaining about sexual harassment, and

 that they themselves retaliated against her for complaining about sexual

 harassment.

       “When a plaintiff attempts to use § 1983 as a parallel remedy to a Title VII

 claim, the prima facie elements to establish liability are the same under both

 statutes. In either case, the plaintiff must prove that the defendants acted with

 discriminatory intent.” Rivera v. P.R. Aqueduct & Sewers Auth., 331 F.3d 183, 192

 (1st Cir. 2003) (internal footnote, citations, and quotation marks omitted); see also

 Lipsett v. Univ. of P.R., 864 F.2d 881, 896 (1st Cir. 1988) (“To prove a violation of the

 equal protection clause, a plaintiff must show that the defendant acted with

 discriminatory intent.”). In addition, “the First Circuit has made clear that an Equal

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 Protection claim involves an additional element not present in garden-variety

 employment discrimination claims—‘[s]ome evidence of actual disparate treatment is

 a threshold requirement of a valid equal protection claim.’” Charette, 2017 WL

 2683951 at *14 (quoting Ayala-Sepúlveda v. Mun. of San Germán, 671 F.3d 24, 32

 (1st Cir. 2012)).

         Roy cannot establish an Equal Protection claim against Ross or Bouffard

 because, as already discussed, she cannot establish the prima facie elements of a

 claim for sexual harassment under Title VII. See supra Section III.B. Even if Roy

 could make a prima facie case for sexual harassment, Roy has not offered any

 evidence indicating that either Bouffard or Ross treated Roy differently from others

 similarly situated. Thus, Defendants Bouffard and Ross are entitled to summary

 judgment on Roy’s Equal Protection claims.6

         Roy’s contention that Ross and Bouffard failed to stop MDOC staff from

 sexually harassing Roy is similarly unavailing. The claims against Bouffard and Ross

 are claims for supervisory liability under § 1983 because they are not alleged to have

 engaged in harassment themselves, and supervisory liability “may not be predicated

 upon a theory of respondeat superior,” Gutierrez-Rodriguez v. Cartagena, 882 F.2d

 553, 562 (1st Cir. 1989), and thus a supervisor can only be held liable for the actions

 of subordinates where there is an affirmative link between the supervisor and the

 subordinate’s behavior that could be characterized as “supervisory encouragement,

 condonation or acquiescence or gross negligence amounting to deliberate


  6 To the extent Roy’s Equal Protection claims are premised on Bouffard and Ross’ alleged retaliation or failure

 to prevent retaliation, such claims are not properly brought under the Equal Protection Clause. See Rodriguez-
 Melendez v. Rivera, No. CIV. 97-1258 SEC, 1998 WL 151870, at *3 (D.P.R. Mar. 23, 1998) (“[V]arious circuits have
 clearly established that a pure or generic retaliation claim does not implicate the Equal Protection Clause.”).
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 indifference.” Wilson v. Town of Mendon, 294 F.3d 1, 6 (1st Cir. 2002) (quoting

 Lipsett, 864 F.2d at 902). The link “must be a strong one, as that requirement

 contemplates proof that the supervisor’s conduct led inexorably to the constitutional

 violation.” Ramírez-Lluveras v. Rivera-Merced, 759 F.3d 10, 19-20 (1st Cir. 2014)

 (internal quotation omitted) (emphasis in original). Here, Roy’s Equal Protection

 claims do not clear the high bar necessary to show deliberate indifference. This

 further supports the conclusion that Bouffard and Ross are entitled to summary

 judgment on the Equal Protection claims (Count IV).

       2. First Amendment

       Roy alleges that Bouffard and Ross violated her First Amendment rights by

 failing to stop the prison staff from retaliating against her for complaining about

 matters of public concern, and by retaliating against her themselves for the same. To

 succeed on her First Amendment claim, Roy must show that (1) she was speaking as

 a private citizen on a matter of public concern; (2) her interests, as a citizen, in

 commenting upon matters of public concern outweighed her employer’s interest in

 promoting the efficiency of the public services it performs through its employees; and

 (3) the protected expression was a substantial or motivating factor in an adverse

 employment decision. Decotiis v. Whittemore, 635 F.3d 22, 29 (1st Cir. 2011).

       To determine whether Roy’s speech was made as a private citizen or rather, as

 Bouffard and Ross contend, as an employee within the scope of her job, “[t]he critical

 question . . . is whether the speech at issue is itself ordinarily within the scope of an

 employee’s duties, not whether it merely concerns those duties.” Lane v. Franks, 134

 S. Ct. 2369, 2379 (2014). “[T]he mere fact that a citizen’s speech concerns information

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 acquired by virtue of [her] public employment does not transform that speech into

 employee—rather than citizen—speech.” Id.

       Here, Roy complained about (i) neglect of duty by Corrections Officers charged

 with providing security in the medical clinic of a prison; (ii) Corrections Officers

 seeking confidential inmate medical information; as well as (iii) sexual harassment

 and retaliation by public Corrections Officers. Because Roy was a nurse in the prison

 medical facility, issues concerning security and sexual harassment were not

 “ordinarily within the scope of [her] duties.” Lane, 134 S. Ct. at 2379. Thus, Roy has

 raised a dispute of fact as to whether she was speaking as a private citizen.

       Whether Roy’s speech addressed a matter of public concern is “determined by

 the content, form, and context of a given statement, as revealed by the whole record.”

 Connick v. Myers, 461 U.S. 138, 147-48 (1983). Bouffard and Ross argue that Roy’s

 speech involves matters of personal interest, and the First Amendment does not

 empower plaintiffs to “constitutionalize the employee grievance.”         Id. at 154.

 However, “[w]hile it is true that the First Amendment does not empower [public

 employees] to constitutionalize the employee grievance, it is also true that certain

 speech is of an inherent public concern, such as official malfeasance or the neglect of

 duties.” Leahy-Lind v. Me. Dep’t of Health & Human Servs., No. 1:13-cv-00389-GZS,

 2014 WL 4681033, at *18 (D. Me. Sept. 19, 2014) (internal quotations omitted).

       Roy’s allegations, viewed in the light most favorable to her, do not implicate

 issues of public concern for purposes of supporting an alleged violation of the First

 Amendment. As already discussed (see supra Section III.B), Roy’s allegations of

 harassment relate exclusively to isolated incidents involving different officers, some

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 of which occurred outside of the workplace. Roy’s speech concerning her own personal

 interest is not a matter of public concern. See Rosado-Quiñones v. Toledo, 528 F.3d

 1, 5 (1st Cir. 2008) (allegations of personal animosity expressed by fellow employees

 did “not even approach matters of inherent public concern” in the law enforcement

 context).

       Neither do Roy’s complaints regarding various Corrections Officers’ neglect of

 duty implicate public concern. As the First Circuit has recognized:

       [I]f either official misconduct or neglect of duties was asserted to be
       responsible for unsafe conditions for the general public, this would be a
       matter of public importance. If, however, the performance critiques
       concerned only matters of internal working conditions, and the
       discussion of “safety issues” . . . likewise reflected an employee
       workplace concern rather than the public interest, plaintiffs’
       constitutional claim would falter at the threshold inquiry.

 Jordan v. Carter, 428 F.3d 67, 73 (1st Cir. 2005) (emphasis added). Roy’s complaints

 regarding the security provided in the medical facility did not relate to the safety of

 the general public, but were limited to the safety of the staff and inmates in the prison

 medical facility. Roy’s First Amendment claims therefore fail the first step of the

 required analysis.

       However, even if Roy could make out a First Amendment claim, that claim

 would still be subject to dismissal because Bouffard and Ross are entitled to qualified

 immunity. A qualified immunity analysis consists of two parts: (1) whether Roy

 alleges facts that, if true, demonstrate violations of a constitutional right, and (2)

 whether that right was clearly established at the time of the alleged violations. See

 Stamps v. Town of Framingham, 813 F.3d 27, 33-34 (1st Cir. 2016); see also Pearson

 v. Callahan, 555 U.S. 223, 232 (2009). The second part, in turn, has two components:

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 (1) were the “legal contours of the right in question” sufficiently clear so a reasonable

 official would understand what was a violation, and (2) within the case’s factual

 context, would a reasonable official understand at what point his or her conduct

 violated the right?   Stamps, 813 F.3d at 34.       So long as the defendant is “not

 contravening clearly established law, [the defendant is] entitled to qualified

 immunity.” Taylor v. Barkes, 135 S. Ct. 2042, 2045 (2015) (per curiam).

       Assuming arguendo that Roy has satisfied the first requirement and

 demonstrated a violation of a constitutional right, the record indicates that Bouffard

 and Ross would not reasonably have understood that their conduct violated Roy’s

 First Amendment rights. The undisputed facts show that on September 26, 2014,

 Roy reported to the prison Captain that she had been left unsupervised in the clinic

 without a Corrections Officer present. Roy admits that she told the Captain that the

 Corrections Officer on duty in the clinic responded to an incident call, leaving

 prisoners unattended, and that the officer on duty in the infirmary did not arrive to

 cover the clinic until fifteen minutes later. An incident report was filed indicating

 that there was no officer present in the clinic for roughly fifteen minutes. Roy further

 admits that surveillance footage shows that the second officer arrived in the clinic

 six—not fifteen—minutes after the first officer responded to the alert, and that a

 different officer arrived thirty seconds after the alert and is seen on camera for all

 but one minute and 49 seconds of the fifteen minute period in question. Thus, the

 surveillance footage constituted credible evidence that the clinic was either not

 unsupervised by the officers, or if it was unsupervised, the gap in supervision lasted

 no longer than one minute and 49 seconds. Bouffard, based on information reported

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 to him by Ross, decided to revoke Roy’s security clearance. This decision was, in part,

 based on the conclusion that Roy had falsely reported that the clinic was

 unsupervised for a period of fifteen minutes.

       Given the preceding information, it was not unreasonable for a deputy warden

 in Ross’ position, or a warden in Bouffard’s position, to believe that disciplining Roy

 for having made a false allegation concerning prison security would not infringe on

 her First Amendment rights. Qualified immunity ultimately shields “all but the

 plainly incompetent or those who knowingly violate the law.” Mullenix v. Luna, 136

 S. Ct. 305, 308 (2015) (per curiam) (quoting Malley v. Briggs, 475 U.S. 335, 341

 (1986)). The record does not indicate that Bouffard and Ross fall into either of those

 categories. Instead, the record reflects that their actions were taken in response to

 information which supported their conclusion that Roy had recklessly or knowingly

 made a false allegation regarding security, which is a matter of serious concern in

 any prison setting.

       Because it was far from certain that Bouffard and Ross’ conduct would infringe

 Roy’s First Amendment rights to any appreciable degree, their actions fall within the

 protection afforded by qualified immunity. Accordingly, Roy’s First Amendment

 claims cannot survive summary judgment.

                                     IV. CONCLUSION

       For the reasons explained above, CCS’ Motion for Summary Judgment (ECF

 No. 57) and the MDOC’s, Bouffard’s, and Ross’ Motion for Summary Judgment (ECF

 No. 63) are GRANTED.



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       SO ORDERED.

       Dated this 30th day of March, 2018


                                                   /s/ JON D. LEVY
                                                U.S. DISTRICT JUDGE




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